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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 JANE DOE 1, individually and on behalf of all
 others similarly situated,
                                                             Case No. 22-cv-10019-JSR
                         Plaintiff,
                                                             [PROPOSED] ORDER
         v.                                                GRANTING MOTION FOR
                                                           ADMISSION PRO HAC VICE
 JPMORGAN CHASE BANK, N.A.,

                         Defendant /
                         Third-Party Plaintiff


 JPMORGAN CHASE BANK, N.A.,

                         Third-Party Plaintiff,

         v.

 JAMES EDWARD STALEY,

                         Third-Party Defendant.


       The motion of Eden Schiffmann for admission to practice pro hac vice in the above-

captioned action is GRANTED. Applicant has declared that he is a member in good standing of

the bars of the District of Columbia and Maryland and that his contact information is as follows:

       Applicant’s Name:        Eden Schiffmann

       Firm Name:               Williams & Connolly LLP

       Address:                 680 Maine Avenue, S.W.

       City/State/Zip:          Washington, D.C. 20024

       Telephone/Fax:           (202) 434-5977 / (202) 434-5029

       Email:                   ESchiffmann@wc.com
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       Applicant having requested admission pro hac vice to appear for all purposes as counsel

for Third-Party Defendant James Edward Staley in the above-captioned action;

       IT IS HEREBY ORDERED that Applicant Eden Schiffmann is admitted to practice pro

hac vice in the above-captioned action in the United States District Court for the Southern

District of New York. All attorneys appearing before this Court are subject to the Local Rules of

this Court, including the Rules governing discipline of attorneys.



Dated: _______________                                       _____________________________
                                                             Honorable Jed S. Rakoff
                                                             United States District Judge
